              Case 2:14-cv-01351-RAJ Document 571 Filed 12/22/17 Page 1 of 4



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10                                                           THE HONORABLE RICHARD A. JONES
11
12                            UNITED STATES DISTRICT COURT
13                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   T-MOBILE USA, INC., a Delaware
16   corporation,                                          NO. 2:14-cv-01351-RAJ
17
18                          Plaintiff,                     STIPULATION AND [PROPOSED]
19                                                         ORDER OF DISMISSAL WITH
20          v.                                             PREJUDICE
21
22   HUAWEI DEVICE USA, INC., a Texas
23   corporation,
24
25                          Defendants.
26
27
28                                                 STIPULATION
29
30          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff T-Mobile USA,
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32   Inc., and Defendant Huawei Device USA, Inc., by and through their respective counsel, hereby
33
34   stipulate and agree that all claims which have been or could have been asserted in this action
35
36   shall be dismissed with prejudice and without costs to any party. The parties request that the
37
38   Court enter the below proposed Order dismissing this action with prejudice and without costs to
39
40   any party but retain jurisdiction to address sealing issues.
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL                  GORDON TILDEN THOMAS & CORDELL LLP
     WITH PREJUDICE - 1                                                 1001 Fourth Avenue, Suite 4000
     NO. 2:14-cv-01351-RAJ                                                    Seattle, WA 98154
                                                                            Phone (206) 467-6477
                                                                              Fax (206) 467-6292
             Case 2:14-cv-01351-RAJ Document 571 Filed 12/22/17 Page 2 of 4



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 3   s/ Michael E. Kipling                       s/Franklin D. Cordell
 4   Michael E. Kipling, WSBA #7677              Franklin D. Cordell, WSBA #26392
 5   Marjorie A. Walter, WSBA #40078             Jeffrey M. Thomas, WBSA #21175
 6   kipling@kiplinglawgroup.com                 GORDON TILDEN THOMAS & CORDELL LLP
 7   walter@kiplinglawgroup.com                  1001 Fourth Avenue, Suite 4000
 8   KIPLING LAW GROUP PLLC                      Seattle, Washington 98154
 9   4464 Fremont Avenue N., Suite 300           (206) 467-6477
10   Seattle, WA 98103                           (206) 467-6292
11   (206) 545-0345                              fcordell@gordontilden.com
12   (206) 545-0350 (fax)                        jthomas@gordontilden.com
13
14
15   John Hueston (admitted pro hac vice)        Timothy C.Bickham (admitted pro hac vice)
16   Alison Plessman (admitted pro hac vice)     James F. Hibey (admitted pro hac vice)
17   Eric Hayden (admitted pro hac vice)         Michael J. Allan (admitted pro hac vice)
18   jhueston@hueston.com                        Jeffrey Theodore (admitted pro hac vice)
19   aplessman@hueston.com                       Jessica I. Rothschild (admitted pro hac vice)
20   HUESTON HENNIGAN LLP                        STEPTOE & JOHNSON LLP
21   620 Newport Center Drive, Suite 1300        1330 Connecticut Avenue NW
22   Newport Beach, CA 92660                     Washington, DC 20036
23   (949) 229-8640                              (202) 429-3000
24                                               (202) 429-3902
25                                               jhibey@steptoe.com
26   Counsel for Plaintiff T-Mobile USA, Inc.    wabrams@steptoe.com
27                                               tbickham@steptoe.com
28                                               jtheodore@steptoe.com
29                                               jrotschild@steptoe.com
30
31                                               Counsel for Defendant Huawei Device
32                                               USA, Inc.
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL      GORDON TILDEN THOMAS & CORDELL LLP
     WITH PREJUDICE - 2                                     1001 Fourth Avenue, Suite 4000
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                                                                Phone (206) 467-6477
                                                                  Fax (206) 467-6292
              Case 2:14-cv-01351-RAJ Document 571 Filed 12/22/17 Page 3 of 4



 1                                               ORDER
 2
 3          IT IS HEREBY ORDERED that all claims which have been or could have been asserted
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 5   in this action shall be dismissed with prejudice and without costs to any party. The Court retains
 6
 7   jurisdiction to address sealing issues.
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 9
10          SO ORDERED this _______ day of ___________________, 2017.
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14                                                HONORABLE RICHARD A. JONES
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL               GORDON TILDEN THOMAS & CORDELL LLP
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                                                                         Phone (206) 467-6477
                                                                           Fax (206) 467-6292
              Case 2:14-cv-01351-RAJ Document 571 Filed 12/22/17 Page 4 of 4



 1                                      CERTIFICATE OF SERVICE
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 5          I hereby certify that on December 22, 2017, I electronically filed the foregoing with the
 6
 7   Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
 8
 9   attorneys of record.
10
11          DATED this 22nd day of December, 2017.
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17                                                s/Franklin D. Cordell
18                                                Franklin D. Cordell, WSBA #26392
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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL              GORDON TILDEN THOMAS & CORDELL LLP
     WITH PREJUDICE - 4                                             1001 Fourth Avenue, Suite 4000
     NO. 2:14-cv-01351-RAJ                                                Seattle, WA 98154
                                                                        Phone (206) 467-6477
                                                                          Fax (206) 467-6292
